EXHIBIT 5
                                                                                         Catalina U.S. Insurance Services LLC
                                                                                         Member of Catalina Holdings (Bermuda) Ltd




July 26, 2021


VIA OVERNIGHT FEDEX AND EMAIL

Jeffrey Silver                                              One Beacon Insurance Company
General Counsel                                             One Beacon Lane
Pennsylvania Insurance Company                              Canton, Massachusetts 02021
10805 Old Mill Road                                         Attention: General Counsel
Omaha, NE 68154

One Beacon Insurance Company
One Beacon Lane
Canton, Massachusetts 02021
Attention: Treasurer


Dear Mr. Silver, Treasurer, and General Counsel:

        I write on behalf of Sparta Insurance Company (“SIC”) to provide notice of indemnification
pursuant to Sections 2.19, 8, and 12.9 of the August 9, 2007 Stock Purchase Agreement (“SPA”) between
Pennsylvania General Insurance Company (“PGIC”), later re-named Pennsylvania Insurance Company
(“PIC”), and Sparta Insurance Holdings, Inc. (“SIH”). This notice relates to prior notices SIC has made
to PIC concerning claims, tenders, and other legal process that SIC has received, which all relate to
policies issued by American Employers’ Insurance Company (“AEIC”).

        As you know, Section 2.19(b) of the SPA states:

        All liabilities of [AEIC] that have arisen or could arise, under any insurance contract or any
        reinsurance treaty or otherwise, have been and will be assumed by Seller [PIC f/k/a PGIC]
        . . . . The Company [AEIC] has, and will at Closing have, no liabilities of any nature,
        whether absolute, accrued, contingent or otherwise or whether due or to become due,
        other than those assumed by Seller pursuant to the Reinsurance Agreement.1

        Accordingly, in 2007, SIH acquired AEIC as an empty shell, free from any of AEIC’s then-existing
or future liabilities. Notwithstanding that fact, as SIC has previously informed you, SIC has been receiving
and continues to receive claims allegedly arising from policies issued by AEIC prior to SIH’s 2007
acquisition of AEIC. Specifically, we have previously notified you of the following claims, all of which are
based allegedly on AEIC policies:

    1. Two direct third-party actions against SIC in Bedivere Ins. Co. v. Triangle Enterprises, Inc.,
       No 17-CI-00522, McCracken, KY Circuit Court.



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  See also June 15, 2005 Instrument of Transfer and Assumption between Pennsylvania General Insurance Company and
American Employers’ Insurance Company.

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   2. Two bankruptcy adversary proceedings: (1) Roman Catholic Diocese of Syracuse v.
      Arrowpoint Cap. et al., No 20-30663-5, Adv. Pro. 21-50002-5 (N.D.N.Y. Bankr.); and (2) In
      re Diocese of Buffalo, No. 20-10322, Adv. Pro. 21-01001 (W.D.N.Y. Bankr.).

   3. A Missouri Department of Labor and Industrial Relations Division of Workers’
      Compensation claim, injury number 18-111944.

   4. Fourteen tenders for defense and indemnity that SIC received from Triangle Enterprises,
      Inc.

        We previously requested that PIC confirm that it will handle, manage, and pay these claims as
well as other AEIC claims that Armour Risk Management was managing and paying. We also informed
you that, to the extent PIC would not handle, manage, and pay those claims, SIC would protect its
interests as necessary with respect to each of them and look to PIC for reimbursement for the cost of
that necessary action.

        In addition to the foregoing notices, SIC has now also received a California Division of Workers’
Compensation Notice of Hearing, which relates to an AEIC policy, as well as three subpoenas from
parties in the Campbell, et al. v. Armstrong International, Inc., et al. No. 2021-CP-40-02286 (S.C.
Richland Cnty. Ct. Com. Pleas), Murphy Dudley, et al. v. Covil Corporation, et al., No. 2021-CP-40-01364
(S.C. Richland Cnty. Ct. Com. Pleas), and the Carpenter, et al. v. Covil Corporation, et al., No. 2021-CP-
40-04475 (S.C. Richland Cnty. Ct. Com. Pleas) matters, which seek information related to purported
AEIC insurance policies. We now ask that PIC confirm that it will handle, manage, and pay these claims
or proceedings as well.

       Section 8.1 of the SPA states:

       Seller [PIC f/k/a PGIC] agrees to indemnify and hold Purchaser [SIH, now SIC] harmless
       of and from any loss, cost, expense, claim, interest, fine, penalty, deficiency, obligation,
       liability or damage, including, without limitation, reasonable attorneys’ fees, accountants’
       fees and other investigatory fees and out-of-pocket expenses, actually expended or
       incurred by Purchaser or the Company (collectively, “Losses”), arising out of or resulting
       from (i) any breach of representation or warranty (including any misrepresentation in, or
       omission from, any certificate or other document furnished or to be furnished by the Seller
       to Purchaser hereunder), or nonfulfillment of any covenant or agreement on the part of
       Seller under this Agreement; (ii) the failure by Seller to perform any of its obligations under
       the Reinsurance Agreement; (iii) any Loss arising out of or resulting from the existence of
       Company prior to the Closing or the conduct of the Business or other operations by or of
       Company prior to the Closing; (iv) all filing fees and administrative assessments for
       insurance guaranty funds and/or insurance department expenses and all other
       assessments, levies or liabilities of any kind arising out of and/or associated with the
       conduct of the Business of the Company prior to the Closing; (v) any matter relating to any
       employee benefit plan or arrangement in effect prior to the Closing; and (vi) all actions,
       suits, proceedings, demands, assessments, judgments, costs and expenses incident to
       any of the foregoing (any and all of which are hereafter referred to as a “Claim”).

        In addition to the above and previous requests that SIC has made to PIC concerning claims
allegedly arising from AEIC policies that SIC has received, SIC provides this notice of PIC’s obligation to
indemnify and hold harmless SIC from all “loss, cost, expense, claim, interest, fine, penalty, deficiency,
obligation, liability or damage, including, without limitation, reasonable attorneys’ fees, accountants’ fees
and other investigatory fees and out-of-pocket expenses, actually expended or incurred by” SIC in
connection with any of the foregoing matters pursuant to SPA Section 8.1. Further, SIC provides the
same notice of PIC’s obligation to indemnify and hold harmless SIC from the same in connection with



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any other matters purportedly arising, now or in the future, from AEIC policies in which SIC is improperly
identified as the party responsible for any obligation or liability arising from AEIC policies.

         Pursuant to SPA Section 8.1, SIC requests that PIC notify SIC within ten business days of receipt
of this letter as to whether PIC will assume control and defense of the foregoing claims and any future
related claims at PIC’s expense. Because the above-identified matters remain ongoing and SIC has
incurred, and is incurring, ongoing expense with respect to each of them (which ultimately is the
responsibility of PIC), the dollar amount of the foregoing claims for indemnification cannot be determined
at this time. Pursuant to SPA Section 8.3, SIC will provide written notice to PIC of the dollar amount of
each of the foregoing claims after SIC has determined such dollar amount(s).

       SIC reserves all rights and waives none.

Sincerely,

Joshua Weiner
Joshua Weiner
Vice President, Claims Counsel
Catalina U.S. Insurance Services LLC
Direct: (860)773-3417
JoshWeiner@Catalinare.com




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